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                                  2023-2093
             ©niteti States Court of Appeals
                 for tfje jfeberal Circuit


           NATURE’S TOUCH FROZEN FOODS (WEST) INC.,
                                                   Plaintiff-Appellant,
                                      v.
                             UNITED STATES,

                                                   Defendant-Appellee.


       Appeal from the United States Court of International Trade, Court
             No. 20-CV-00131, Judge Stephen Alexander Vaden



        REPLY BRIEF OF PLAINTIFF-APPELLANT, NATURE’S
               TOUCH FROZEN FOODS (WEST) INC.


John M. Peterson
  Counsel of Record                        Richard F. O’Neill
Patrick B. Klein                           NEVILLE PETERSON LLP
NEVILLE PETERSON LLP                       701 Fifth Ave, Ste. 4200-2159
55 Broadway, Suite 2602                    Seattle, WA 98104
New York, NY 10006                         (206) 905-3648
(212) 635-2730                             roneill@npwny.com
jpeterson@npwny.com

January 11, 2024
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FORM 9. Certificate of Interest                                                    Form 9 (p. 1)
                                                                                    March 2023

                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT
                                  CERTIFICATE OF INTEREST

            Case Number 2023-2093
   Short Case Caption Nature's Touch Frozen Foods (West) Inc. v. US
   Filing Party/Entity Nature's Touch Frozen Foods (West) Inc.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


  Date: 07/13/2023                          Signature:        John M. Peterson

                                            Name:        John M. Peterson
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FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


       1. Represented                     2. Real Party in             3. Parent Corporations
           Entities.                          Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.
                                      0 None/Not Applicable            0 None/Not Applicable
Nature's Touch Frozen Foods
(West) Inc.




                                  □      Additional pages attached
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FORM 9. Certificate of Interest                                                 Form 9 (p. 3)
                                                                                 March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
          None/Not Applicable                     Additional pages attached




 5. Related Cases.      Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 0 Yes (file separate notice; see below)         O No        N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 0        None/Not Applicable              0      Additional pages attached
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             NATURE’S TOUCH FROZEN FOODS (WEST) INC.,
                                                      Plaintiff-Appellant,
                                           v.
                                 UNITED STATES,
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         Appeal from the United States Court of International Trade, Court
               No. 20-CV-00131, Judge Stephen Alexander Vaden



               REPLY BRIEF OF PLAINTIFF-APPELLANT
             NATURE’S TOUCH FROZEN FOODS (WEST) INC.
      Plaintiff-Appellant, Nature’s Touch Frozen Foods (West) Inc., (“Nature’s

Touch”), in accordance with Rules 28(a) and 32(a) of the Federal Rules of Appel­

late Procedure and the Rules of Practice of the U.S. Court of Appeals for the Fed­

eral Circuit, hereby submits its reply brief in this appeal.
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                                   ARGUMENT

I.    The Trade Court Erred in Determining that Subheading 0811.90.80,
      HTSUS, Covers “Mixtures” of Frozen Fruits.
      The central fallacy of the government’s argument - and the critical flaw in the

Trade Court’s reasoning - is that the word “fruit”—as it appears in Heading 0811,

HTSUS—is an eo nomine provision of the tariff. According to the government, the

term “fruit” is an eo nomine provision which must be interpreted to include all types

of fruit, including “mixed fruit,” Government’s Brief (“Gov’t Br.”) at 16, which the

Trade Court classified in the “other” frozen fruit provision of subheading

0811.90.80, HTSUS. The Trade Court’s reasoning, adopted in the government’s

brief,1 is that only the term “other” in subheading 0811.90.80, HTSUS, “describes

the products in whole.” Id. at 23. The government also defends the Trade Court’s

holding that the plain meaning of the term “other” is “none of the above,” Gov’t Br.

at 9, even though this definition would allow the term “other” to be oddly defined as

either “some of the above,” or “all of the above.”

      First, the term “fruit” as used in Heading 0811, HTSUS, is not an eo nomine

description—it is a general description for a class of articles. As noted in R. Sturm,



      1 Before the Trade Court, the government argued forcefully that the “other”
frozen fruits provision of subheading 0811.90.80, HTSUS, did not cover mixtures.
See Appxl34. Now, before this Court, however, the government withdraws that ar­
gument and now submits that the CIT’s interpretation of “other” is reasonable and
supported by law. Gov’t Br. at 23, n.4.


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Customs Law and Administration § 53.1 General Description (3d ed. 1982),2 “[t]he

broadest classification is that in generic terms or words of general description,

such as fish, fruit, beans, wheat, manufactures of a material.” (Emphasis added).

        More than a century ago, the courts recognized that, in interpreting tariff stat­

utes:

        The principle is well established that in determining the classification
        of goods an eo nomine designation must, unless a legislative intent to
        the contrary is clearly indicated, be preferred to terms of general de­
        scription and to enumerations which are broader in scope and less spe­
        cific. Arthur v. Lahey, (96 U.S. 112, 113, 24 L.Ed 766); Vietor v. Ar­
        thur, (104 U.S. 498,499,26 L.Ed. 633; Robertson v. Glendenning, (132
        U.S. 158, 159, 33 L.Ed. 298, 10 S.Ct. 44); Chew Hing Lung v. Wise,
        (176 U.S. 156, 160, 44 L.Ed. 412, 20 S.Ct. 320).

Brown & Co v. United States, 6 Ct. Cust. App. 415, 417 (1915). In Brown, the ques­

tion was whether imported soya beans were properly classifiable under a general

dutiable provision covering “(Bjeans, prepared or preserved, in tins, jars bottles or

similar packages,” or under a free list provision covering “Soya beans.” The court

rejected the government’s argument that the term “soya beans’ should be limited to

fresh or unpackaged soya beans, noting that:

         ... a person ordering soya beans from a seed house would hardly ex­
        pect to receive merchandise of the kind imported. On the other hand, it


       2 The Sturm treatise further notes that “Merchandise is designated and classi­
fied in tariff acts in various ways; In general terms or words of general description;
eo nomine', by its own specific name; according to use; and by composition.” R.
Sturm, Customs Law and Administration § 53 Types of Tariff Classification (3d ed.
1982).
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      is equally true that the importation might well be regarded as a proper
      delivery of soya beans ordered for use as food.

Id. at 416. Absent a contrary legislative intent, the eo nomine term “soya beans” was

interpreted to cover all forms of the named article. Id at 418.

      In the process, the Brown court distinguished several earlier decisions in

which a classification by general description had prevailed over a more specific

eo nomine provision, noting that in each of the cases cited, a commercial designation

had removed the imported good from the scope of the proffered eo nomine classifi­

cation. See e.g., Rich v. United States, 61 F. 501 (2nd Cir. 1894) (holding that the

imported goods were commercially known as “artists colors in tubes” and that the

competing eo nomine provisions covered different commercial articles); United

States v. Reiss & Brady, 136 F. 741 (2nd Cir. 1905) (figs preserved in sugar or mo­

lasses or in their own juices flavored with maraschino were more properly classified

in a general provision for “[fjruits preserved in sugar, molasses, spirits or in their

own juices” because the term “figs” had been limited by judicial interpretation to

mean dried figs sold in baskets and boxes); Brennan v. United States, 136 F. 743

(lsr Cir. 1905) (limes in brine classified in general provision because limes in brine

were commercially considered to be “pickles,” not “limes”).




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      Consequently, the Brown court noted, “in those cases, it is not a question of

whether the eo nomine designation should be preferred to terms of general descrip­

tion, but whether the eo nomine designation as used in the tariff act and understood

in commerce was applicable to the merchandise.” 6 Ct. Cust. App. at 419.

      Likewise, the Supreme Court has recognized that “[w]hen Congress has des­

ignated an article by a specific name, and by such name imposed a duty upon it,

general terms in a subsequent act, or in a later part of the same act, although suffi­

ciently broad to comprehend such article, are not applicable to it. Arthur v. Lahey,

96 U.S. 112, 113 (1877). See e.g., Homer v. The Collector, 68 U.S. 486 (1864);

Reiche v. Smythe, 80 U.S. 162 (1872); Smythe v. Fiske, 90 U.S. 374 (1874); Movius

v. Arthur, 95 U.S. 144 (1877).

      In this case, the Trade Court’s decision, and the government’s defense of

same, rest on the proposition that all ingredients of plaintiff’s frozen fruit mixtures

answer to the general descriptive language “Fruit ... frozen” in HTSUS Head­

ing 0811, and that only subheading 0811.90, HTSUS “describes the products in

whole.” Appx43; Gov’t Br. at 23. But this formulation ignores the fact that Heading

0811 also features subheadings which, at the six-digit “international” level and eight­

digit “national tariff rate” level provide for specific fruits eo nomine. Indeed, the

Trade Court’s analysis utterly disregards these eo nomine provisions. The Heading

and associated subheadings cover:


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0811         Fruit and nuts, uncooked or cooked by steaming or boiling in water,
             frozen, whether or not containing added sugar or other sweetening
             matter:

0811.10                   Strawberries

0811.20                   Raspberries, blackberries, mulberries, loganberries,
                          black, white or red currants and gooseberries (other than
                          kiwi fruit):

0811.20.20                         Raspberries, loganberries, black currants and
                                   gooseberries (other than kiwi fruit)

0811.20.40                         Other;

0811.90                   Other:

0811.90.10                         Bananas and plantains

0811.90.20                         Blueberries

0811.90.22                         Boysenberries

0811.90.25                         Cashew apples, mameyes colorados, sapodillas,
                                   soursops and sweetsops

0811.90.30                         Coconut meat

0811.90.35                         Cranberries (Vaccinium macrocarpum)

0811.90.40                         Papayas

0811.90.50                         Pineapples

0811.90.52                         Mangoes

0811.90.55                         Melons

0811.90.80                         Other


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      Bearing in mind the command of General Rule of Interpretation 6 to the

HTSUS that only subheadings at the same level are comparable,3 we compare the

provisions in Heading 0811 to determine the meanings of six-digit subheading

0811.90, HTSUS, and eight-digit subheading 0811.90.80, HTSUS.

      First, the “other” provision of subheading 0811.90, HTSUS, covers frozen

fruits which are not strawberries (0811.10), and which are not raspberries, blackber­

ries, mulberries, loganberries, black, white or red currants and gooseberries (other

than kiwi fruit) (0811.20).

      Second, the “other” provision of subheading 0811.90.80, HTSUS, covers

fruits which are not the foregoing, and which are not bananas or plantains

(0811.90.10), blueberries (0811.90.20), boysenberries (0811.90.22), Cashew apples,

mameyes colorados, sapodillas, soursops and sweetsops (0811.90.25), coconut meat

(0811.90.30),   cranberries    (0811.30.35),    papayas   (0811.90.40),   pineapples

(0811.90.50), mangoes (0811.90.52), or melons (0811.90).




      3 GRI 6 Provides in pertinent part: “For legal purposes, the classification of
goods in the subheadings of a heading shall be determined according to the terms of
those subheadings and any related subheading notes and, mutatis mutandis, to the
above rules, on the understanding that only subheadings at the same level are com­
parable.
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      And although the Trade Court said that the term “other,” as it appears in the

tariff, means “none of the above,” under its faulty logic, when two or more frozen

fruits are imported together, the term “other” means some or all of the above.

      Under the Trade Court’s logic, for example, Plaintiff’s “frozen strawberry/ba-

nana” product, consisting of items not individually classifiable in subheading

0811.90.80, HTSUS, becomes classifiable in subheading 0811.90.80, HTSUS, when

imported mixed. The strawberry ingredient, classified eo nomine in subheading

0811.10, HTSUS, now falls to be classified under subheading 0811.90, HTSUS. The

blueberry component, classified eo nomine in subheading 0811.90.20, HTSUS, now

falls to be classified under subheading 0811.90.80, HTSUS, a provision from which

it is ordinarily excluded. The Trade Court did not explain how the scope limitations

of subheading 0811.90.80, HTSUS, magically fall away when products not covered

therein are imported as part of a mixture.

      The lower court’s analytical error is in focusing on the general descriptive

language “Fruit ... frozen,” in Heading 0811, and in construing subhead­

ing 0811.90.80, HTSUS, to “describe the products in whole,” without taking account

of the intervening eo nomine provisions set out in the 6-and-8 digit subheadings of

the note. In so doing, the Trade Court disregarded General Rule of Interpretation 1

to the HTSUS, which provides that “for legal purposes, classification shall be deter­

mined according to the terms of the headings and any relative section or chapter


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notes”; and GRI 6, which requires that in construing subheadings, “[f]or legal pur­

poses, the classification of goods in the subheadings of a heading shall be determined

according to the terms of those subheadings and any related subheading notes and,

mutatis mutandis, to the above rules, on the understanding that only subheadings at

the same level are comparable.” In construing the scope of subheading 0811.90.80,

HTSUS, in which it classified plaintiffs imported products, the Trade Court disre­

garded eo nomine provisions at the subheading level, instead making a leap from the

4-digit Heading language to the 8-digit subheading language.

      Thus, products such as strawberries and raspberries, classified in subheadings

0811.10 and 0811.20, HTSUS, respectively, cannot be classified in the “other” sub­

heading 0811.90, HTSUS. Product such as blueberries, classified in subheading

0811.90.20, HTSUS, cannot be classified in the “other” provision of subheading

0811.90.80, HTSUS. The scope of subheading 0811.90.80, HTSUS, is narrowed by

the 6-and 8-digit subheadings which proceed it. The Trade Court’s analysis expands

the section, so that when goods are imported in mixtures, subheading 0811.90.80,

HTSUS, expands to include all of the items excluded from its scope by the preceding

6- and 8-digit subheadings. This interpretation grossly disregards the commands of

GRIs 1 and 6.

      The Trade Court has previously noted that eo nomine tariff subheadings and

“other” subheadings at the same level are “mutually exclusive.” Toy Biz Inc. v.


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United States, 248 F. Supp. 2d 1234 (Ct. Int’l Tr. 2003). It has similarly been noted

that:

         ... in most cases, two subheadings under the same heading in a chapter
        would necessarily be exclusive of each other as each would be defined
        not only by its own terms but also by what it is not as indicated in the
        other subheading’s terms.

GRK Canada Ltd. v. United States, 180 F. Supp. 3d 1260, 1273 fn 22 (Ct. Int’l Tr.

2016), aff’d, 885 F.3d 1340 (Fed. Cir. 2018).

        The Trade Court’s approach here, however, would use the general descriptive

language in Heading 0811 (“Fruit ... frozen”), to completely swallow up and disre­

gard the eo nomine provisions in the heading’s 6- and 8-digit subheadings. It would

disregard the fact that the scope of an “other” provision such as subheading

0811.90.80, HTSUS, is constrained by the language of superior and correlative sub­

headings, and reaches the absurd conclusion that subheading 0811.90.80, HTSUS,

describes Plaintiff’s imported frozen fruit mixtures “in whole”(Appxl3) when in

many cases, it describes few or none of the goods in the mixture. Such an interpre­

tation cannot be squared with the commands of GRIs 1 and 6.

        The drafters of the tariff did not provide that the General Rules of Interpreta­

tion go out the window when a mixture appears. Instead, they provided two ways

for mixtures to be classified. Some mixtures, described explicitly by the terms of the

tariffs headings and subheadings, are classified pursuant to GRI 1. When a mixture

is not so described, the drafters of the tariff mandated classification of the mixture
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as if it consisted solely of that material or ingredient which imparts its “essential

character” GRI 3(b)) or, in the rare cases where no “essential character” component

can be identified, according to the last tariff provision in numerical order which de­

scribes one of the ingredients (GRI 3(c)).

      Classification of merchandise by general description must retreat in the face

of applicable eo nomine provisions describing the goods in question. See Brown &

Co. v. United States, 6 Cust. Ct. 415, 419 (1915); Schade & Co. v. United States, 5

Ct. Cust. Appls. 465, 466 (1914); see also United States v. Alltransport Inc., 44

C.C.P.A. 149, 154 (1957); Atlanta Trading Corp. v. United States, 42 C.C.P.A. 90,

94 (1954). The Trade Court’s decision classifying all of Plaintiffs imported mixed

fruit preparations under subheading 0811.90.80, HTSUS, must be reversed, not only

because it disregards this venerable maxim of tariff construction, but also the modern

tools of construction provided in General Rules of Interpretation 1 and 6.

II.   The Subject Frozen Fruit Mixtures are Properly Classified as “Other”
      Food Preparations of Subheading 2106, HTSUS.

      Clearly, subheading 0811.90.80, HTSUS, does not cover frozen fruit mix­

tures. Expanding the scope of the provision in such a way would violate established

maxims of statutory interpretation, and disregarded the interpretive guidance estab­

lished in General Rules of Interpretation 1 and 6. It is equally clear that if an im­

ported product can be classified pursuant to GRI 1, it must be so classified before

resort may be had to other GRIs. See, e.g., Magid Glove & Safety Mfg. Inc. v. United
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States, 2023 U.S. App. LEXIS 32160 (Fed. Cir. 2023); Lemans Corp. v. United

States, 660 F.3d 1311 (Fed. Cir. 2011).

      In this regard, subheading 2106.90.98, HTSUS, is a provision covering “food

preparations, not elsewhere specified or included.” To be classified “under heading

2016, HTSUS, two criteria must be met: the product must be (1) a food preparation;

which is (2) not elsewhere specified or included.” R.T. Food, Inc. v. United States,

36 C.I.T. 1637, 1644 (2012), aff’d, 757 F.3d 1349 (Fed. Cir. 2014). As this Court

has noted “Heading 2106, HTSUS ... is an expansive basket heading that only ap­

plies in the absence of another applicable heading.” Id. (Emphasis added).

      In the face of a classification provision which the Trade Court has found to be

“expansive,” a food preparation will fall to be classified in subheading 2106.90.98,

HTSUS, unless a more specific provision can be located. As noted by this Court in

R.T. Foods, “if the proper heading can be determined under GRI 1, the court is not

to look to the subsequent GRIs.” R.T. Foods, Inc. v. United States, 757 F.3d 1349,

1353 (Fed. Cir. 2014); see also, CamelBak Prods., LLC v. United States, 649 F.3d

1361, 1364 (Fed. Cir. 2011) (citing Mita Copystar Am. v. United States, 160 F.3d

710, 712 (Fed. Cir. 1998) (“We apply GRI 1 as a substantive rule of interpretation,

such that when an imported article is described in whole by a single classification

heading or subheading, then that single classification applies, and the succeeding

GRIs are inoperative.”). R.T. Foods, Inc. v. United States, 757 F.3d 1353 (Fed. Cir.


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2014). As demonstrated above, the instant fruit mixtures cannot be classified under

subheading 0811.90.80, HTSUS. Neither the Trade Court, nor the government, offer

any other possible GRI 1 classification for the imported product.

      Defendant asserts that Plaintiffs frozen fruit mixtures are not “preparations”

because they do not undergo some unspecified level of processing designed to render

them more than mere “food.” Gov’t Br. at 31. The Trade Court has noted that “The

term ‘food preparation’ as it is used in heading 2106 is not statutorily defined,” and

has looked to the Explanatory Notes for guidance. Maxcell Bioscience Inc. v. United

States, 31 C.I.T. 1999, 2012 (2007). But while subheading 2106.90.98, HTSUS,

clearly covers food preparations including non-food ingredients, nothing therein

suggests that preparations consisting solely of foods are excluded therefrom. Nor

does anything suggest that extensive processing must be done; a simple combination

of goods to serve a specific need is sufficient.

      Indeed, the Explanatory Notes to heading 2106, HTSUS, on which the gov­

ernment purports to rely states that:

      Provided that they are not covered by any other heading of the No­
      menclature, this heading covers:

             (A) Preparations for use either directly or after processing (such
                as cooking, dissolving or boiling in water, milk, etc.), for hu­
                man consumption.




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(Emphasis in original). Thus, food preparations of Heading 2106 may be used “di­

rectly” (as a user might thaw the instant frozen fruit preparations for direct consump­

tion); or “after processing” (which might occur post-importation, as when the user

of an imported frozen fruit preparation might mix it with water or milk in a blender

to make a fruit smoothie beverage). The instant mixtures have been “prepared” by

being combined in definite proportions to specific taste or color palates, reduced in

size in some instances, and packaged for use by the consumer. “Preparation” as used

in Heading 2106 does not required that the goods be “manufactured” or transformed

into something other than foods for human consumption. While subsection (B) of

the Explanatory Note indicates that Heading 2106 also covers “Preparations consist­

ing wholly or partly of foodstuffs” used for various purposes, nothing indicates that

a “food preparation” of the Heading must be more than “food.”

         Thus, as noted in BASF Inc. v. United States, 482 F.3d 1324, 1329 (Fed. Cir,

2007):

         We addressed the meaning of “preparation” in Orlando Food Corp. v.
         United States, 140 F.3d 1437 (Fed. Cir. 1998), and stated that “[ijnher-
         ent in the term ‘preparation’ is the notion that the object involved is
         destined for a specific use. The relevant definition from the Oxford
         English Dictionary defines a ‘preparation’ as ‘a substance specifically
         prepared, or made up for its appropriate use or application, e.g. as food
         or medicine, or in the arts or sciences.’” Id. at 1441 (citation omitted).

(Eourie, J., dissenting in part). The instant fruit products have been “prepared” by

being reduced in size in certain cases, frozen, and combined according to recipes so


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that they might be used to make fruit smoothies (the predominant use), or for dessert

toppings, making jams, and similar purposes. See Appx70-Appx71, Appxl30. The

‘"preparation” is not the freezing, but rather the combination of fruits in distinct pro­

portions to serve particular uses and please certain taste palates.4

      The government notes that some of the ingredients of the subject mixtures are

delivered to Plaintiff’s Canadian factory “already cut and frozen” (Gov’t Br. at 31),

but this is of no moment. Goods are classified in their condition as imported. See

e.g., United States v. Arnold Pickle & Olive Co., 68 C.C.P.A. 85 (1981); United

States v. Border Brokerage Co., 54 C.C.P.A. 56 (1969). The creation of the imported

frozen fruit mixtures at bar involves many operations performed in different coun­

tries and in different plants—growing, harvesting, transporting, reduction in size,

freezing and the like. It is not necessary that all of these operations be performed at

the plant of the company which packages the goods for export to the United States.

While the government asserts that, once frozen, the individual pieces of fruit undergo

no further change in character” prior to importation (Gov’t Br. at 31), this is not the



       4 The courts have not required that individual ingredients of a “food prepara­
tion” be enhanced in condition, or processed in any way other than by combining in
established quantities. Thus, for example, in Arbor Foods Inc. v. United States, 30
C.I.T. 670 (2006), the Trade Court held that a mixture consisting 98% of sugar and
2% of gelatin was a “food preparation” of heading 2106, HTSUS.
      More recently, in Nutricia N. Am. v. United States, 2023 Ct. Inti. Trade LEXIS
172 (2023), the Trade Court held that certain fortified beverages were also “food
preparations” of Heading 2106.
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test for being a “preparation.” A change in character might be indicative of a process

of manufacture—see e.g., Anheuser-Busch Brewing Assn. v. United States, 227 U.S.

544, 556 (1908)—or of a “substantial transformation” for purposes of determining a

goods’ country of origin for marking purposes. United States v. Gibson-Thomsen

Co. Inc., 27 C.C.P.A. 267, 273 (1940). But it is in no way relevant to the determina­

tion of whether, in its condition as imported, an article is classifiable as a “food

preparation.”

      The government also contends that because more thoroughly processed food

preparations are included in Heading 2106, this suggests that the instant products are

not   classified therein.   In particular,       the   government   notes   Explanatory

Note 21.06 (15), which provides:

      This heading includes, inter alia'.

      Mixtures of plants, parts of plants, seeds or fruit (whole, cut, crushed,
      ground or powdered) of species falling in different Chapters (e.g.,
      Chapter 7, 9, 11, 12) or of different species falling in heading 12.11,
      not consumed as such but of a kind used either directly for flavoring
      beverages or for preparing extracts for the manufacture of beverages.

      However, products of this type whose essential character is given by
      their content of species falling within Chapter 9 are excluded (Chap­
      ter 9).

(Emphasis in original). From this, the government bizarrely posits that the Explana­

tory Note excludes “cut plant or fruit mixtures - such as the imported products - that




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are ‘consumed as such’.” Gov’t Br. at 33. But the Explanatory Note nowhere ex­

cludes from the scope of Eleading 2106 food preparations “consumed as such.” Sec­

tion (A) of the Explanatory Note, referred to above, expressly includes within the

scope of Heading 2106 food preparations designed to be “consumed directly.”5

      This Court has long warned against the impropriety of using exemplars from

the Explanatory Notes to cabin the terms of the HTSUS headings and subheadings.

See e.g., Midwest of Cannon Falls Inc. v. United States, 122 F.3d 1423 (Fed. Cir.

1997). What the government seeks to do here, however, is to selectively refer to parts

of an Explanatory Note, while disregarding others. This is improper interpretation

and analysis of the Explanatory Notes.

      Nor do the precedents cited by the government advance its position. In

Frosted Fruit Products v. United States, 18 Cust. Ct. 119 (1947), the issue was

whether certain frozen guavas were classified as “fruits in their natural state,” or as

fruits “preserved or prepared” under the language of certain trade agreements. The

court noted that ‘“prepared” in a tariff sense means that a commodity has been so

processed to be advanced in condition and more valuable for its intended use.” Id.




      5 The only exclusionary language in Explanatory Note 20.16 (15) relates to
preparations which derive their “essential character” from species classified in
HTSUS Chapter 9. All of the components of the frozen fruit mixtures at issue, if
imported individually, would be classified in HTSUS Chapter 8. The exclusion has
no applicability here.
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at 120. But this case involved a single fruit, not a combination of fruits prepared

pursuant a recipe, so the decision does not shed light on the instant question.

       Similarly, Interocean Chem. & Minerals Corp. v. United States, 13 C.I.T. 449

(1989), involved the question of whether imported frozen crab meat and crab claws

should be classified as crabmeat “chilled or frozen” or as “crabmeat “preserved or

prepared.” While noting that the provision for “chilled or frozen” crabmeat was not

fully descriptive of the imported merchandise, the Court held that the product did

not qualify as “preserved or prepared” due to a commercial designation. Id.

at 453-454. There is no commercial designation at issue in this action.

       Pursuant to the command of GRI 1, in the absence of a provision which more

specifically describes them, the instant frozen fruit mixtures are properly classifiable

as “other” food preparations in the broad basket provision of subheading 2106.90.98,

HTSUS.

III.   The Subject Frozen Fruit Mixtures Qualify for Duty-Free Entry as
       NAFTA Originating

       To the extent the instant frozen fruit mixtures are properly classified under

subheading 2106.90.98, HTSUS, the instant fruit mixtures are eligible for duty free

treatment as “originating” products under the North American Free Trade Agree­

ment (“NAFTA”).

       Eligibility for duty free NAFTA treatment is generally determined according

to “tariff shift” rules of origin codified in General Note 12 of the Harmonized Tariff
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Schedule. For goods classified under Heading 2106, HTSUS, the applicable rule of

origin requires that, as a result of work performed in one or more NAFTA countries,

a good undergoes “a change to heading 2106 from any other chapter” of the tariff.

As all non-originating components of the Plaintiffs frozen fruit products are classi­

fied in chapters other than Chapter 21, HTSUS, the products will all qualify for duty-

free entry under NAFTA, subject to satisfaction of certification and other require­

ments which are not in dispute in this action.

                                  CONCLUSION

      For the reasons given above, Plaintiff-Appellant respectfully requests that this

Court vacate the opinion and judgment of the CIT, and remand this matter for pro­

ceedings consistent with this Court’s opinion.




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                                           Respectfully submitted.

                                          /s/ John M. Peterson______
                                         John M. Peterson
                                           Counsel of Record
                                         Patrick B. Klein
                                         NEVILLE PETERSON LLP
                                         55 Broadway, Suite 2602
                                         New York, NY 10006
                                         (212) 635-2730
                                         jpeterson@npwny.com

                                         Richard F. O’Neill
                                         NEVILLE PETERSON LLP
                                         701 Fifth Ave, Ste. 4200-2159
                                         Seattle, WA 98104
                                         (206) 905-3648
                                         roneill@npwny.com
                                         Attorneys for Plaintiff-Appellant
January 11, 2024




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                   CERTIFICATE OF COMPLIANCE WITH
                      TYPE-VOLUME LIMITATIONS

I hereby certify that the foregoing Reply Brief of Plaintiff - Appellant, Nature's

Touch Frozen Foods (West) Inccomplies with the relevant type -volume

limitation of the Federal Rules of Appellate Procedure and Federal Circuit Rules. It

was prepared using a propor-tionally-spaced typeface and includes 4,214 words.



                                              /s/ Patrick B, Klein
                                                 Patrick B. Klein

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                           CERTIFICATE OF SERVICE

I hereby certify that on this 11st day of January 2024,1 electronically filed the fore­

going Reply Brief of Nature’s Touch Frozen Foods (West) Inc., with the Clerk of

the Court for the United States Court of Appeals for the Federal Circuit through the

Court’s CM/ECF system. Participants in this case who are registered CM/ECF users

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                                               /s/ Patrick B, Klein
                                                  Patrick B. Klein

January 11, 2024
